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                           UNITED STATES BANKRUPTCY COURT
                             For the Southern District of New York


 In re:                                              )      Chapter 11
                                                     )
 MIAMI METALS I, Inc., et al.                        )      Case No. 18-13559-SHL
                                                     )
                        Debtors.                     )      (Jointly Administered)
                                                     )
                                                     )
 COÖPERATIEVE RABOBANK U.A., NEW                     )
 YORK BRANCH, BROWN BROTHERS                         )
 HARRIMAN & CO., BANK HAPOALIM                       )
 B.M., MITSUBISHI INTERNATIONAL                      )
 CORPORATION, ICBC STANDARD BANK                     )
 PLC, TECHEMET METAL TRADING, LLC,                   )
 WOODFOREST NATIONAL BANK and                        )
 HAIN CAPITAL INVESTORS MASTER                       )
 FUND, LTD.,                                         )      Adv. Proc. No. 20-ap-01061-SHL
                                                     )
                        Plaintiffs,                  )
                                                     )
          v.                                         )
                                                     )
 CROWE LLP,                                          )
                                                     )
                        Defendant.                   )


                                      NOTICE OF HEARING

          PLEASE TAKE NOTICE THAT the initial telephonic status conference requested by

Plaintiffs [Docket No. 17] (the “Hearing”) will commence on April 7, 2020, at 10:30 a.m.,

prevailing Eastern Time, before The Honorable Sean H. Lane, in the United States Bankruptcy

Court for the Southern District of New York.

          PLEASE TAKE FURTHER NOTICE THAT pursuant to General Order M-543, entered

by Chief Judge Cecelia G. Morris on March 20, 2020, “all attorneys, witnesses and parties wishing

to appear at, or attend, a telephonic hearing or conference, must refer to [Judge Lane]’s guidelines

for telephonic appearances and make arrangements with Court Solutions LLC” per the instructions
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in General Order M-543.

 Dated: April 1, 2020                      SOLOMON & CRAMER LLP

                                           By: /s/Andrew T. Solomon
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